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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK



 BRIGETTE MABE, individually and on
 behalf of all others similarly situated,

                           Plaintiff,
                                                     Case No.: 1:20-cv-00591
                    v.

 WAL-MART ASSOCIATES, INC.,

                           Defendant.



           NOTICE OF MOTION TO AMEND AND CERTIFY THE COURT’S
             MARCH 24, 2022 ORDER FOR INTERLOCUTORY APPEAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1292(b) and Federal Rule of

Appellate Procedure 5(a)(3), Defendant Wal-Mart Associates, Inc. (“Defendant”), by and through

its undersigned counsel, will move this Court, at a date and time to be determined by the Court,

before the Honorable Thomas J. McAvoy, Senior United States District Judge, Northern District

of New York, at the United State Courthouse, 15 Henry Street, Binghamton, New York 13901, to

amend its March 24, 2022 Order (Doc. 38) so as to certify that Order for immediate interlocutory

appeal. Defendant will further move the Court to stay further proceedings in this matter pending

that interlocutory appeal’s disposition. See, e.g., Fed. R. App. P. 8(a)(1). Such motion is made

upon the accompanying Memorandum of Law in Support of Defendant’s Motion to Amend and

Certify the Court’s March 24, 2022 Order for Interlocutory Appeal, and also upon all the pleadings

and proceedings herein (including, without limitation, Defendant’s Renewed Motion to Dismiss

(Doc. 23, inclusive of 23-1 through 23-6), Defendant’s Reply Memorandum of Law in Support of

Its Renewed Motion to Dismiss (Doc. 25), Defendant’s First Response to Supplemental Authority

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Provided By Plaintiff (Doc. 30), Defendant’s Notice of Supplemental Authority (Doc. 32), and

Defendant’s Second Response to Supplemental Authority Provided By Plaintiff (Doc. 37).


Dated:         Albany, New York
               April 4, 2022
                                                    GREENBERG TRAURIG, LLP



                                                    By: /s/ Henry M. Greenberg                 .
                                                        Henry M. Greenberg, Esq.
                                                        Nicholas A. Corsano
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                                                        Associates, Inc.




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